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		OSCN Found Document:RE SUSPENSION OF 2020 CONTINUING EDUCATION REQUIREMENTS FOR CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				RE SUSPENSION OF 2020 CONTINUING EDUCATION REQUIREMENTS FOR CERTIFIED SHORTHAND REPORTERS2020 OK 54Decided: 06/15/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 54, __ P.3D __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



Re: Suspension of 2020 Continuing Education Requirements for Certified Shorthand Reporters



ORDER



¶1 Due to the impacts of the COVID-19 pandemic, the State Board of Examiners of Certified Shorthand Reporters has requested the Supreme Court to suspend the continuing education requirements for Certified Shorthand Reporters for calendar year 2020. See 20 O.S. §1503.1.

¶2 For good cause shown, and as recommended by the Board, the Supreme Court hereby orders that the continuing education requirements applicable to Certified Shorthand Reporters are suspended for the 2020 calendar year. Any approved continuing education hours that are accrued in 2020 may be carried over and counted towards the 2021 CSR continuing education requirements.

¶3 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 15th day of June, 2020.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR






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&nbsp;20 O.S. 1503.1, Continuing Education Requirements for Certified Shorthand ReportersCited


	
	








				
					
					
				

		
		

	
		
			
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